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P|Oinliff, \GV
vs. NO. l-O4-i 200 T-An

SAM'S C|_UB Cil’i<;l TRA\/|S MALONE, JURY DEMANDED

Defenolcinfs.

 

ORDER GRANT|NG EXTENSlON OF DEADL|NES

 

This matter is before the Court on the Parties’ Joint Motion to extend the discovery
deadline and the deadline for the filing of dispositive motions. Upon consideration of the

parties’ Motion and for good cause shown:

It is therefore, ORDERED, DECREED, and ADJUDGED that the deadline for all written
discovery and depositions be extended eight (8) days, up to and including June 30, 2005, and
the deadline for the filing of dispositive motions be extended twelve (12) days, up to and

including Ju|y 15, 2005.

ENTERED this the 524 day of YU 2005.

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with Fiule 58 and,’or_?§ (a) Fi"iCP on

Case 1:04-cv-01200-.]DT-STA Document 17 Filed 06/22/05 Page 2 of 3 PagelD 19

APPROVED FOR ENTRY:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
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ESSEE

 

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Honorable .1 ames Todd
US DISTRICT COURT

